     Case: 1:18-cv-01459 Document #: 39 Filed: 05/14/18 Page 1 of 1 PageID #:199

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Cynergy Data LLC
                                   Plaintiff,
v.                                                      Case No.: 1:18−cv−01459
                                                        Honorable John Z. Lee
BMO Harris Bank N.A.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 14, 2018:


        MINUTE entry before the Honorable John Z. Lee:Defendant's motion for agreed
protective order [37] is granted. The status hearing set for 5/15/18 is reset to 6/13/18 at
9:00 a.m. No appearance is required on the motion.Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
